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                                   IN THE UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF DELAWARE


             In re:                                                          Chapter 11

             BYJU’S ALPHA, INC., 1                                           Case No. 24-10140 (JTD)

                                                 Debtor.                     Ref. Docket No. 200




                        CERTIFICATE OF NO OBJECTION REGARDING DOCKET NO. 200

                      The undersigned hereby certifies that, as of the date hereof, he has received no answer,

         objection, or other responsive pleading to the Debtor’s Motion for Entry of an Order Extending

         the Exclusive Periods for the Filing of a Chapter 11 Plan and Solicitation of Acceptances Thereof

         [Docket No. 200] (the “Motion”) filed with the United States Bankruptcy Court for the District of

         Delaware (the “Court”) on May 30, 2024. The deadline to file and serve responsive pleadings to

         the Motion was 4:00 p.m. (ET) on June 13, 2024.

                      The undersigned further certifies that, as of the date hereof, he has reviewed the Court’s

         docket in this case and no answer, objection, or other responsive pleading to the Motion appears

         thereon.

                      As no responses to the Motion have been received, it is hereby respectfully requested that

         the proposed order attached to the Motion be entered at the earliest convenience of the Court.




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               The Debtor in this Chapter 11 case, along with the last four digits of the Debtor’s federal tax identification number,
               is: BYJU’s Alpha, Inc. (4260). The location of the Debtor’s service address for purposes of this Chapter 11 case
               is: 1007 N. Market St. Ste. G20 452, Wilmington, Delaware 19801.
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         Dated: June 17, 2024            YOUNG CONAWAY STARGATT & TAYLOR, LLP
                Wilmington, Delaware
                                         /s/ Kenneth J. Enos
                                         Robert S. Brady (Del. No. 2847)
                                         Kenneth J. Enos (Del. No. 4544)
                                         Jared W. Kochenash (Del. No. 6557)
                                         Timothy R. Powell (Del. No. 6894)
                                         1000 North King Street
                                         Wilmington, Delaware 19801
                                         Telephone: (302) 571-6600
                                         Facsimile: (302) 571-1253
                                         rbrady@ycst.com
                                         kenos@ycst.com
                                         jkochenash@ycst.com
                                         tpowell@ycst.com

                                         -and-

                                         QUINN EMANUEL URQUHART & SULLIVAN, LLP
                                         Susheel Kirpalani (admitted pro hac vice)
                                         Benjamin Finestone (admitted pro hac vice)
                                         Daniel Holzman (admitted pro hac vice)
                                         Jianjian Ye (admitted pro hac vice)
                                         51 Madison Avenue, 22nd Floor
                                         New York, New York 10010
                                         Tel.: (212) 849 7000
                                         susheelkirpalani@quinnemanuel.com
                                         benjaminfinestone@quinnemanuel.com
                                         danielholzman@quinnemanuel.com
                                         jianjianye@quinnemanuel.com

                                         Counsel for the Debtor




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